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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 16-0283V
                                   Filed: November 22, 2016
                                          Unpublished

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HEATHER MOREAU, Executor,             *
Estate of DOUGLAS C. RIEMER,          *
                                      *
                  Petitioner,         *      Ruling on Entitlement; Concession;
                                      *      Varicella Vaccine; Disseminated
v.                                    *      Varicella Zoster Virus (“VZV”) Infection;
                                      *      Immunocompromised Person; Death;
SECRETARY OF HEALTH                   *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                  Respondent.         *
                                      *
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Edward M. Kraus, Law Offices of Chicago Kent, Chicago, IL, for petitioner.
Glenn A. MacLeod, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Dorsey, Chief Special Master:

       On February 29, 2016, Heather Moreau (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”), on behalf of the Estate of Douglas C. Riemer.
Petitioner alleges that Mr. Riemer’s death on March 5, 2015, was caused in fact by the
Varicella vaccine he received on February 4, 2015. Pet. at 1. The case was assigned
to the Special Processing Unit (“SPU”) of the Office of Special Masters.

       On November 21, 2016, respondent filed a Rule 4(c) Report in which she
concedes that compensation should be awarded for Mr. Riemer’s death. Rule 4(c) Rep.
at 3. Specifically, respondent stated that “the medical records demonstrate Mr.
Riemer’s death on March 5, 2015, resulted from multi-organ failure most likely caused
1 Because this unpublished ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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by disseminated Varicella infection triggered by the Varicella vaccination he received on
February 4, 2015.” Id. Respondent further stated that no other causes for petitioner’s
death were identified in the medical record. Id. According to medical personnel of the
Department of Health and Human Services, “the Varicella vaccine is a live-attenuated
viral vaccine, derived from the Oka strain of VZV [varicella zoster virus].” Id. Due to a
weakened immune system, immunocompromised persons[,]” such as Mr. Riemer, who
suffered from severe chronic kidney disease, “have a high risk of contracting
disseminated disease from VZV infection. The onset of Mr. Riemer’s rapid decline and
death from a disseminated VZV infection within three weeks of receiving a Varicella
vaccination is a medically appropriate time-frame to infer causation with the
vaccination.” Id.

      Respondent concludes that all statutory and jurisdictional requirements have
been met, and that entitlement to compensation is appropriate under the terms of the
Vaccine Act. Rule 4(c) Rep. at 3.

     In view of respondent’s concession and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Nora Beth Dorsey
                                  Nora Beth Dorsey
                                  Chief Special Master




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